                                               United States Bankruptcy Court
                                                    District of Arizona
ALVRUS,
              Plaintiff                                                                           Adv. Proc. No. 17-00004-DPC
VOLK,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0970-2                  User: stawarsk                     Page 1 of 1                          Date Rcvd: Nov 09, 2017
                                      Form ID: dfltprse                  Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 11, 2017.
pla            +ANNALISA ALVRUS,   2035 W OBISPO AVE,   MESA, AZ 85202-7943

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 11, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 9, 2017 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0




        Case 2:17-ap-00004-DPC Doc 11 Filed 11/09/17 Entered 11/11/17 22:57:12                                                 Desc
                             Imaged Certificate of Notice Page 1 of 4
FORM dfltprse (revised 05/19/16)

                                   UNITED STATES BANKRUPTCY COURT
                                             District of Arizona

            NOTICE TO PARTY FILING MOTION OR OTHER DOCUMENT

CASE NAME: ALVRUS v. VOLK
CASE NUMBER/ADVERSARY NUMBER: 2:17−ap−00004−DPC
DOCKET NUMBER: 10
DOCUMENT FILING DATE: 11/9/2017
DOCUMENT TITLE: Affidavit



TO:                                 Annalisa Alvrus




The document you have filed cannot be further processed until you comply with the following.



        You have filed an Affidavit of Default and requested the clerk to Enter the Default. Default cannot be entered
        for the reasons stated in the Notice to Party Applying for Default.


        OTHER:




Date: November 9, 2017

Address of the Bankruptcy Clerk's Office:                    Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                            George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000                             By: Joann S, Deputy Clerk
www.azb.uscourts.gov                                         Phone: 602−682−4000




    Case 2:17-ap-00004-DPC Doc 11 Filed 11/09/17 Entered 11/11/17 22:57:12                                    Desc
                         Imaged Certificate of Notice Page 2 of 4
                             UNITED STATES BANKRUPTCY COURT
                                       District of Arizona

                    NOTICE TO PARTY APPLYING FOR DEFAULT

CASE NAME: ALVRUS v. VOLK
CASE NUMBER/ADVERSARY NUMBER: 2:17−ap−00004−DPC



The default applied for cannot be entered for the following reason(s):

              No affidavit of service of the summons and complaint is on file. Fed. R. Bankr. P. 7004(a)

              Date of service (date of personal service or date mailed) of the summons and complaint was more than
              7 days after issuance of the summons. Fed. R. Bankr. P. 7004(e)

              The affidavit of service does not state that a copy of the complaint and summons were served. Fed. R.
              Bankr. P. 7004(a)

              Debtor is represented by counsel and the affidavit of service states that service was made only on
              debtor or only on debtor's attorney. If debtor is represented by an attorney, the summons and complaint
              must be served on both the debtor and debtor's attorney. Fed. R. Bank. P. 7004(b)(9) and (g).

              Summons and Complaint were mailed to the debtor at an address other than the address stated on the
              petition or if an address update was filed with the court, at that address. Fed. R. Bankr. P. 7004(b)(9)

              The affidavit of service states that service was made by personal delivery of the summons and
              complaint but does not state that the person making the delivery is 18 years or older and is not a party
              to the case. Fed. R. Bankr. P. 7004(a) (This requirement does not apply to service by mail.)

              The affidavit for entry of default does not state that the defendant(s) to be defaulted are not in the
              military and that the provisions of the Servicemembers Civil Relief Act do not apply. 50 U.S.C.
              Section 521.

              The defendant(s) to be defaulted have filed an answer or motion.

              The affidavit of service states that the summons and complaint were served by mail to an address that
              does not comply with one of the following: Fed. R. Bankr. P. 7004(b)

           1. Agency of the United States served by mail. The summons and complaint must be mailed to all three
           of the following addresses.

                    Civil Process Clerk
                    United States Attorney, District of Arizona
                    40 North Central Avenue
                    Phoenix AZ 85004

                    Attorney General of the United States
                    Department of Justice, Room B−103
                    950 Pennsylvania Avenue, N.W.
                    Washington DC 20530−0001

                    US Agency Name
                    Street Address/PO Box
                    City State




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                       Imaged Certificate of Notice Page 3 of 4
            2. United States Trustee served by mail. The summons and complaint must be mailed to:

                      United States Trustee
                      230 North First Avenue, Suite 204
                      Phoenix AZ 85003−1706


Default cannot be entered until the above checked deficiencies are corrected and a new affidavit of service is filed. If
new service needs to be made, a replacement (alias) summons must be issued and served.




Date: November 9, 2017

Address of the Bankruptcy Clerk's Office:                   Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                           George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000                            By: Joann S, Deputy Clerk
www.azb.uscourts.gov                                        Phone: 602−682−4000




   Case 2:17-ap-00004-DPC Doc 11 Filed 11/09/17 Entered 11/11/17 22:57:12                                      Desc
                        Imaged Certificate of Notice Page 4 of 4
